   Case: 1:16-cv-06103 Document #: 225 Filed: 04/29/19 Page 1 of 3 PageID #:9711




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JENNIFER BEARDSALL, et al.,
 individually and on behalf of all others
 similarly situated,
         v.
                                                    Case No. 1:16-cv-06103
 CVS PHARMACY, INC.; TARGET
 CORPORATION; WALGREEN CO.,                         Hon. Joan Lefkow
 WAL-MART STORES, INC., and FRUIT
 OF THE EARTH, INC.,

                Defendants.



                                     NOTICE OF APPEAL



       Plaintiffs-Appellants Jennifer Beardsall, et al. individually and on behalf of all others

similarly situated, by their undersigned counsel, file this Notice of Appeal from the Court’s March

13, 2019 order granting summary judgment to certain Defendants (Dkt. 220) entered on March 13,

2019, its order dismissing the case (Dkt. 223) entered on April 8, 2019, and its judgment (Dkt.

224) entered on April 8. 2019 in this matter, and all other opinions and orders that merge

therein. This appeal shall be taken to the Seventh Circuit Court of Appeals.



DATED: April 29, 2019.                       s/Gregory F. Coleman
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                                                1
Case: 1:16-cv-06103 Document #: 225 Filed: 04/29/19 Page 2 of 3 PageID #:9712




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                                      2
   Case: 1:16-cv-06103 Document #: 225 Filed: 04/29/19 Page 3 of 3 PageID #:9713




                               CERTIFICATE OF SERVICE
        I hereby certify that on April 29, 2019, I electronically filed the foregoing NOTICE OF
APPEAL with the Clerk of the Court for the United States District Court for the Northern District
of Illinois, Eastern Division by using the CM/ECF system, which sent notification of such filing
to all CM/ECF participants, including:
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